Case 2:20-cv-10051-MWF-PVC Document 100 Filed 08/30/22 Page 1 of 3 Page ID #:2261


                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
                          CIVIL MINUTES—GENERAL

   Case No. CV 20-10051-MWF (PVCx)                Date: August 30, 2022
   Title:   James Shayler v. MMWH Group LLC et al
   Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

             Deputy Clerk:                            Court Reporter:
             Rita Sanchez                             Not Reported

             Attorneys Present for Plaintiff:         Attorneys Present for Defendant:
             None Present                             None Present

   Proceedings (In Chambers):             ORDER DENYING MOTION FOR
                                          RELEIF FROM THE SCHEDULING
                                          ORDER IN ORDER FOR PLAINTIFF TO
                                          FILE A MOTION FOR SUMMARY
                                          JUDGMENT AND FOR LEAVE TO FILE
                                          A MOTION FOR SUMMARY
                                          JUDGMENT [98]

         Before the Court is Plaintiff James Shayler’s Motion for Relief from the
   Scheduling Order in Order for Plaintiff to File a Motion for Summary Judgment
   and For Leave to File a Motion for Summary Judgment (the “Motion”), filed on
   August 26, 2022. (Docket No. 98).

         The Motion was noticed to be heard on September 26, 2022. The Court read
   and considered the papers on the Motion and deemed the matter appropriate for
   decision without oral argument. See Fed. R. Civ. P. 78(b); Local Rule 7-15. The
   hearing was therefore VACATED and removed from the Court’s calendar.
   Vacating the hearing was also consistent with General Order 21-08 and Order of
   the Chief Judge 21-124 arising from the COVID-19 pandemic.

         Because Plaintiff has failed to establish good cause, the Motion is DENIED.

          Under Federal Rule of Civil Procedure 16(b)(4), the Court’s Scheduling
   Order “may be modified only for good cause and with the judge’s consent.”
   “Unlike Rule 15(a)’s liberal amendment policy which focuses on the bad faith of
   the party seeking to interpose an amendment and the prejudice to the opposing
   party, Rule 16(b)’s ‘good cause’ standard primarily considers the diligence of the
                                            1
Case 2:20-cv-10051-MWF-PVC Document 100 Filed 08/30/22 Page 2 of 3 Page ID #:2262


                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
                          CIVIL MINUTES—GENERAL

   Case No. CV 20-10051-MWF (PVCx)                Date: August 30, 2022
   Title:   James Shayler v. MMWH Group LLC et al
   party seeking the amendment.” Johnson v. Mammoth Recreations, Inc., 975 F.2d
   604, 609 (9th Cir. 1992). “[C]arelessness is not compatible with a finding of
   diligence and offers no reason for a grant of relief.” Id. Rather, modification of
   the scheduling order is appropriate where the deadline could not “reasonably be
   met despite the diligence of the party seeking the extension.” Id.

          Here, the Court issued the Scheduling Order on January 12, 2022. (Docket
   No. 81). The Scheduling Order set the deadline for non-expert discovery cut-off as
   July 29, 2022, and the last date to hear motions as August 29, 2022. (Id. at 2).
   Plaintiff filed his first Motion for Summary Judgment on May 19, 2022. (Docket
   No. 85). On June 28, 2022, the Court denied that motion without prejudice,
   holding it was premature given several discovery issues remained unresolved and
   the discovery period had not closed. (Docket No. 91 (“Prior Order”)). Defendants
   filed a Motion for Summary Judgment on July 28, 2022, which was heard on
   August 29, 2022. (Docket Nos. 93 and 99).

          As noted, Plaintiff filed this Motion seeking relief from the Scheduling
   Order on August 26, 2022. Plaintiff argues that he could not timely file his Motion
   for Summary Judgment because, in order to comply with the Local Rules, he
   would have had to schedule the meet and confer with Defendants on July 25, 2022,
   which was prior to the close of discovery on July 29, 2022. (Motion at 11).
   Apparently, Plaintiff was under the impression that he could not meet and confer
   with Defendants regarding his contemplated Motion for Summary Judgment prior
   to the close of discovery based on the Court’s Prior Order. (Id.). But nothing in
   the Prior Order indicates that a meet and confer could not take place prior to the
   close of discovery; the Court merely held that summary judgment at that time was
   premature given the parties had not resolved several discovery disputes and the
   discovery period was still open. (Prior Order at 2). Indeed, Defendants were able
   to bring their Motion for Summary Judgment in accordance with the Scheduling
   Order and Plaintiff made no complaint in their Opposition regarding Defendants’
   failure to comply with the meet and confer requirement of the Local Rules. (See
   Docket Nos. 93 (Defendants’ Motion for Summary Judgment) and 95 (Plaintiff’s
   Opposition)).


                                            2
Case 2:20-cv-10051-MWF-PVC Document 100 Filed 08/30/22 Page 3 of 3 Page ID #:2263


                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
                          CIVIL MINUTES—GENERAL

   Case No. CV 20-10051-MWF (PVCx)                Date: August 30, 2022
   Title:   James Shayler v. MMWH Group LLC et al
          And even if Plaintiff (or his counsel) believed that the Court’s Prior Order
   meant that a meet and confer regarding a Motion for Summary Judgment could not
   take place until after the close of discovery, thereby making it impossible to timely
   bring such a motion, Plaintiff would have been aware of that purported
   impossibility as soon as the Court issued its Prior Order on June 28, 2022. Yet,
   Plaintiff’s Motion requesting relief from the Scheduling Order was not filed until
   two months later, on August 26, 2022. Plaintiff’s conclusory assertion that the
   Motion was filed “as soon as practicably possible” is insufficient to show that he
   acted diligently. (Motion at 12). Given Plaintiff’s lack of diligence in bringing its
   Motion, the Court declines to conclude that good cause exists to amend its
   Scheduling Order. See Johnson, 975 F.2d at 609. (“If [the requesting] party was
   not diligent, the inquiry should end.”).

         Accordingly, the Motion is DENIED. The Scheduling Order pertaining to
   subsequent trial dates remains in effect.

         IT IS SO ORDERED.




                                             3
